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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08
     UNITED STATES OF AMERICA,            )
09                                        )
                 Plaintiff,               )            Case No. CR09-0006-JLR
10                                        )
           v.                             )
11                                        )
     MARIO EARL,                          )            DETENTION ORDER
12                                        )
                 Defendant.               )
13   ____________________________________ )

14
     Offenses charged:
15

16          COUNT 1:              CONSPIRACY TO DISTRIBUTE MARIJUANA, in violation
                                  of 21 U.S.C., §§ 841(a)(1), 841(b)(1)(A) and 846.
17
            COUNT 2-4:            DISTRIBUTION OF MARIJUANA, in violation of 21 U.S.C.
18                                §§ 841(a)(1) and 841(b)(1)(C) and 18 U.S.C. § 2.

19 Date of Detention Hearing:     February 2, 2009

20          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21 based upon the factual findings and statement of reasons for detention hereafter set forth,

22 finds:

23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

25 defendant is a flight risk and a danger to the community based on the nature of the pending

26 charges.


     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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01          (2)     Defendant has stipulated to his continued detention, but reserves the right to

02 contest his continued detention if there is a change in circumstances.

03          (3)     There are no conditions or combination of conditions other than detention that

04 will reasonably assure the appearance of defendant as required or ensure the safety of the

05 community.

06          IT IS THEREFORE ORDERED:

07          (1)     Defendant shall be detained pending trial and committed to the custody of the

08 Attorney General for confinement in a correctional facility separate, to the extent practicable,

09 from persons awaiting or serving sentences or being held in custody pending appeal;

10          (2)     Defendant shall be afforded reasonable opportunity for private consultation

11 with counsel;

12          (3)     On order of a court of the United States or on request of an attorney for the

13 government, the person in charge of the corrections facility in which defendant is confined

14 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

15 connection with a court proceeding; and

16          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

17 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

18 Services Officer.

19                  DATED this 2nd day of February, 2009.

20

21
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
22

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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